
913 So.2d 736 (2005)
Lawrence CORNER, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D05-1836.
District Court of Appeal of Florida, Third District.
November 2, 2005.
Lawrence Corner, in proper person.
Charles J. Crist, Jr., Attorney General, for appellee.
Before LEVY, GERSTEN and SUAREZ, JJ.
*737 PER CURIAM.
This is an appeal of an Order summarily denying a motion under Florida Rule of Criminal Procedure 3.800(a). This Court must reverse any Order summarily denied unless the postconviction Record, see Fla. R.App. P. 9.141(b)(2)(A), conclusively establishes that the appellant is not entitled to relief. See id.; see also Fla. R.App. P. 9.141(b)(2)(D).
Because the Record before us fails to make the required showing, we reverse the Order on appeal and remand for an evidentiary hearing, or for the attachment of Record excerpts conclusively showing that the appellant is not entitled to relief. See id.; see also Fla. R. Crim. P. 3.850(d).
Reversed and remanded for further proceedings.
